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                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                        :
                                              :      No. 17-10941-SR
SHARMIL MCKEE,                                :
                                              :      Chapter 7
                       Debtor                 :


                     STIPULATION TO EXTENSION OF TIME
             FOR THE PHILADELPHIA FAMILY COURT TO RESPOND TO
                  SHARMIL MCKEE’S MOTION FOR CONTEMPT


         The Philadelphia Family Court and Debtor Sharmil McKee, through undersigned

counsel, have consented to a one-week extension of time, until October 17, 2017, for the Family

Court to respond to Debtor’s Motion for Contempt.


                                              Respectfully submitted,



         /s/ Andrew J. Coval                                 /s/ Glenn A. Brown
         Andrew J. Coval, Esquire                           Glenn A. Brown, DMD, Esquire
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         (215) 560-6300                                     Counsel for Debtor
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         Counsel for Philadelphia Family Court
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                     IN THE UNITED STATES BANKRUPTCY COURT
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IN RE:                                        :
                                              :     No. 17-10941-SR
SHARMIL MCKEE,                                :
                                              :     Chapter 7
                      Debtor                  :



                                           ORDER

         AND NOW this                day of                       2017, upon consideration of

the Stipulation to Extension of Time for Philadelphia Family Court to Respond to Sharmil

McKee’s Motion for Contempt, it is ORDERED that the Family Court’s response is due on

October 17, 2017.




                                              BY THE COURT:



                                              _____________________________
                                                                      J.
